Case 1:17-cv-00522-WES-PAS Document 9 Filed 04/07/18 Page 1 of 2 PageID #: 645



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND



HANNA INSTRUMENTS, INC.,

  Plaintiff/Counterclaim-Defendant,

      v.                                                Civil Action No. 1:17-cv-522-WES-PAS

BUSINESS SOFTWARE ALLIANCE and
MICROSOFT CORPORATION,

   Defendants/Counterclaim-Plaintiffs.




                                         STIPULATION

       IT IS HEREBY STIPULATED AND AGREED by Plaintiff Hanna Instruments, Inc. and

Defendants BSA Business Software Alliance, Inc. d/b/a BSA | The Software Alliance (“BSA”)

and Microsoft Corporation (“Microsoft”), by and through their respective counsel, that pursuant

to Civil Rule 29(b) of the Local Rules for the United States District Court for the District of

Rhode Island, the time by which Defendants must answer or otherwise respond to the Complaint

shall be enlarged by thirty (30) days to May 9, 2018.




                               [SIGNATURE PAGE FOLLOWS]
Case 1:17-cv-00522-WES-PAS Document 9 Filed 04/07/18 Page 2 of 2 PageID #: 646




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of April, 2018, a true copy of the within document
was filed electronically and it is available for viewing and downloading from the Court’s
Electronic Case Filing System by counsel of record for all parties.


                                                     _//John T. McInnes
